Filed 8/27/24 In re S.W. CA1/5
                NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not
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        IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                 FIRST APPELLATE DISTRICT

                                            DIVISION FIVE


 In re S.W., a Person Coming Under
 the Juvenile Court Law.
                                                               A169378
 THE PEOPLE,
                                                               (City &amp; County of San Francisco
          Plaintiff and Respondent,                             Super. Ct. No. JW226034)
 v.
 S.W.,
          Defendant and Appellant.




                                  MEMORANDUM OPINION1
        Defendant S.W. appeals from the juvenile court’s disposition order
declaring him a ward of the court and placing him on probation in the
custody of his parents. S.W.’s appointed counsel on appeal filed a brief
pursuant to People v. Wende (1979) 25 Cal.3d 436 (Wende). Having conducted
an independent review of the record pursuant to the holding in that case, we
affirm.



      1 We resolve this case by memorandum opinion because it raises no

substantial issue of fact or law. (Cal. Stds. Jud. Admin., § 8.1.)


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      On March 18, 2022, Marcus C. was walking by a parking lot when he
noticed a dark gray or black sedan drive through the parking lot and slow
down significantly. Moments later, three men wearing masks rushed
towards him and demanded that he give them his watch and wallet. Marcus
C. either fell or was pushed to the ground and was lying on his back. Two of
the men were holding handguns, and the third was holding an assault rifle.
The man on Marcus C.’s left took Marcus C.’s watch off his wrist, struck him
in the forehead with the butt of his gun, and yelled “faggot.” The three men
then got into the dark sedan and drove off. Marcus C. gave the police a
description of the suspects and vehicle.
      Approximately four and a half hours after the robbery, the police
arrested S.W. outside of a parking garage along with three other suspects.
The police found Marcus C.’s watch in the center console of a vehicle in the
garage that matched the description Marcus C. had provided. S.W. was 17
years old at the time. On March 22, 2022, Marcus C. attended a hearing by
video conference and saw the suspects’ faces. He recognized S.W. (by his eyes
and his hair) as the man on his left who had struck him. He recognized
another suspect at the hearing as the man on his right during the robbery.
      The People filed a juvenile delinquency petition alleging that S.W.
committed second degree robbery (Pen. Code, § 211; count 1) and accessory
after the fact – knowledge of crime (id., § 32; count 2). The juvenile court
held a contested jurisdictional hearing. Marcus C. testified and again
identified S.W. as the one who “pistol whipped” him. The defense called an
expert in eyewitness identification and memory reconstruction. The expert
identified multiple factors that cast doubt on Marcus C.’s identification of
S.W. as his assailant. Based on a hypothetical including all of those factors,
the expert testified that she would have doubts as to how clearly the witness



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saw the suspects and the reliability of the witness’s in-court identification of
them.
        Following the jurisdictional hearing, the juvenile court found that the
second-degree robbery allegations had been proven beyond a reasonable
doubt and sustained the petition as to count 1. The court dismissed count 2.
At the disposition hearing, the court declared S.W. a ward of the court and
placed him on probation in the custody of his parents with a maximum
confinement time of three years. S.W. filed a timely notice of appeal.
        The Wende brief filed by S.W.’s counsel does not draw our attention to
any issues under Anders v. California (1967) 386 U.S. 738, 744. S.W. was
apprised of his right to file a supplemental brief but did not file one.
Following Wende guidelines, we have conducted an independent review of the
record and conclude there are no meritorious issues to be argued on appeal.
                                 DISPOSITION
        The judgment is affirmed.



                                                                           CHOU, J.


WE CONCUR:


SIMONS, ACTING P. J.


BURNS, J.



(In re S.W.; A169378)




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